Bagram Air Base in Afghanistan fends off Taliban attack but scores killed by bomb at a Page 1 of 3
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  Scores wounded in attack near U.S. Bagram Air Base in
  Afghanistan

  UPDATED ON: DECEMBER 11, 2019 / 1:15 PM / CBS/AP




  Afghan security forces take position at the site of an attack in a U.S. military air base in Bagram, north of Kabul,
  Afghanistan, on December 11, 2019.
  MOHAMMAD ISM A IL/ REUTERS

  Kabul, Afghanistan — A powerful suicide bombing targeted an under-construction
  medical facility on Wednesday near Bagram Air Base, the main American base north of
  the Afghan capital, the U.S. military said. Two civilians were killed and more than 70
  people wounded.

  The Taliban later claimed responsibility for the attack and Afghan officials said all the
  insurgents were killed. The Bagram airfield was not in danger, said Colonel Sonny
  Leggett. The facility is being rebuilt to help the Afghan people who live in the area, the
  U.S. military said.

  The Taliban statement denied any civilian casualties and claimed the attackers had
  managed to enter the Bagram base, even penetrating barracks used by coalition forces.
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  Outside the sprawling base, several homes, mostly belonging to poor Afghans, were
  destroyed. A large mosque in the area was also badly damaged.




                               New investigation on war in Afghanistan




  Shortly after the bombing, Afghan troops, special forces and intelligence officers
  cordoned off the perimeter of the base with armored personnel carriers. Heavily armed
  soldiers kept residents far from the gates to Bagram Air Base.


  Within minutes of the suicide bombing, U.S. fighter aircraft bombed the area, according
  to witnesses


  Dr. Abdul Qasim Sangin, a physician who heads the main hospital in the province, said
  the hospital near the perimeter of the base was on fire. It wasn't immediately clear if any
  foreigners were inside the hospital.


  Sangin said his hospital received six wounded, all Afghans. Five were in stable condition
  and one was critical, he said. Scores more were treated and released by medics at the
  scene. Most were suffering cuts and bruises from flying glass and debris.




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  The Taliban control or hold sway over nearly half of Afghanistan, staging regular attacks
  that target foreign and Afghan forces, as well as Kabul government officials, but also kill
  scores of civilians.




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